 

U.S. DISTRICT COURT

 

 

 

 

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UNITED STATES DISTRICT| COU Toy 30 aid

 

 

 

 

 

 

 

 

 

Northern DISTRICT OF Texes
CLERK, U.S. DISTRICT
By
In the Matter of the Search of — eS Z
(Name, address or brief description of person, property or premises to be searched) APPL IWAVIT
FOR SEARCH WARRANT

12125 Abrams Road Suite 111, Dallas, Texas

Case Number:

8-1 8H579%-BT

I, Michael S. Reuler being duly sworn depose and say:

 

Tam a(n) Special Agent with Federal Bureau of Investigation (FBI) and have reason to believe
Official Title

that [_Jon the person of or [¥Jon the property or premises known as (name, description and/or location)

 

See Attachment A, which is attached hereto and incorporated herein by this reference,

in the Northern District of Texas,

 

there is now concealed a certain person or property, namely (describe the person or property to be seized)

See Attachment B, which is attached hereto and incorporated herein by this reference,

which is (state one or more bases for search and seizure set forth under Rule 41(b) of the Federal Rules of Criminal Procedure)

evidence and instrumentalities of a crime,

concerning a violation of Title 18 United States code, Section(s) 1955 (Illegal Gambling Business)
The facts to support a finding of probable cause are as follows:

See attached Affidavit of Task Force Officer Michael S. Reuler.

Continued on the attached sheet and made a part hereof: Yes [_INo

TFO Michael Reuler, FBI

 

—

Signature of Affiant

Sworn to before me and subscribed in my presence,

N O\). cD, LO | QA at =e Texas

 

 

Date

State
Rebecca Rutherford U.S. Magistrate Judge R SA Qe

Name of Judge Title of Judge Signature of Judge

 
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Affidavit in Support of Search Warrant
I, Michael S. Reuler, having been duly sworn, do depose and state as follows:
PREFACE

1. The following affidavit is furnished to support an application for search
warrant for 12125 Abrams Road Suite 111, Dallas, Texas (Location A).

2. Location A is located in the Dallas Division of the Northern District of Texas.
Location A is an illegal gambling room housed in a strip mall under a fictitious unknown
legal business. Location A is located at 12125 Abrams Road Suite 111, Dallas, Texas.
Location A is located in an area of Dallas, Texas near the intersection of Interstate Highway
635 and Abrams Road. Location A is more fully described in Attachment A.

3. I believe that probable cause exists that in Location A will contain evidence,
fruits, and/or instrumentalities of violations of federal law, specifically 18 U.S.C. § 1955
(Illegal Gambling Business) (collectively the “Target Offenses’).

Background on Affiant

4. I have been employed by the City of Dallas as a Police Officer for
approximately eighteen years. I have been a Gang Detective since 2006 and have been a
Task Force Officer (TFO) with the Federal Bureau of Investigation (FBI) since 2012. I have
participated in previous investigations of violent crime related to criminal street gangs,
investigations of unlawful narcotics distribution, and have conducted or participated in

physical and electronic surveillances, the execution of search warrants, debriefing of

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informants, and the review of taped conversations. Through my training, education, and
experience, I have become familiar with the manner in which illegal drugs are transported,
stored, distributed, and the methods of payments for such drugs. I am also familiar with the
methods by which narcotics traffickers communicate and the code words commonly used by
narcotics traffickers.

5. I am an “investigative or law enforcement officer of the United States” within
the meaning of 18 U.S.C. § 2510(7), that is, I am an officer of the United States who is
authorized by law to conduct investigations of, and make arrests, for offenses enumerated in
18 U.S.C. § 2516.

Background on Investigations Involving Illegal Gambling and Game Rooms

6. Based on my training and experience, and participation is this investigation and
other investigations involving drug trafficking organizations, I know:

7. Location A is an illegal operating gambling game room that is disguised as an
unidentified legitimate business from the exterior. The individuals not yet identified operate
this gambling game room in the same fashion as a casino would operate in an area where
gambling is legal and regulated. The game room consists of several electronic game
machines that customers play in order to have the chance of winning a monetary award.

8. Based on Affiant’s training and experience as it relates to illegal gambling
establishments within the City of Dallas, Affiant knows these establishments are places

associated with high rates of criminal activity. These locations are also the targets of armed

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robberies because large amounts of cash are typically kept on the premises and suspects
committing these armed robberies have little or no threat of law enforcement involvement as
these crimes typically go unreported due to the venue being involved in illegal gambling.
Other criminal activity that is common to these locations are the sales and use of illegal
narcotics. Drug dealers and customers use these locations to facilitate illegal drug sales
because there is little or no threat of law enforcement interaction. These locations typically
have controlled access and extensive video surveillance systems that allow individuals inside
the venue to observe the on goings outside the venue as well as to predetermine the
admittance of individuals seeking access to be inside the game room. Wanted individuals
frequent these locations for the same reasons previously described. It is also common that
individuals who are in charge of these illegal game rooms are involved in various acts of
criminal activity other than illegal gambling both by willing participation and an active role
or just knowledge of the criminal activity occurring and not reporting the activity due to
discovery of the illegal gambling aspect. These locations are also subject to acts of violent
crime such as individual robberies and shootings from the criminal elements described
previously.

9. These illegal gambling locations bring a dangerous element to the communities
in which they operate putting citizens and surrounding business owners at risk of becoming

unintended victims of violent crime.

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Background of Investigation

10. I state that based upon my training experience, and the facts set forth herein,
there is probable cause to believe that the evidence sought to be located, as fully described in
Attachment B, will be located at Location A, as described herein, including all storage
places, safes, garages, structures and any automobiles which may be found within the
curtilage of the suspected premises. Attachment A is attached hereto and incorporated by
reference.

Probable Cause for Location A

Il. In November of 2018, law enforcement agents of the FBI and Dallas Police
Department began an investigation in the area where Location A is located due to citizens’
complaints about criminal activity occurring in and around Location A. The complaints also
were in reference to a shooting that occurred in the parking lot in front of Location A in
which the circumstances of the shooting are still unknown. There are several businesses to
include a medical clinic, convenience stores, and restaurants around where Location A is
located. Based on law enforcements initial observations during covert surveillance it was
apparent that there is a high rate of human traffic coming and going from Location A.

12. During this covert surveillance by law enforcement, Agents attempted to stop
an individual leaving Location A in which that individual ran from law enforcement

personnel who were clearly marked and had identified themselves as law enforcement. This

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individual was apprehended and was found to have outstanding arrest warrants out of Collin
County Texas.

13. Clearly identified law enforcement agents knocked on the interior door inside
the front room of Location A and were granted admittance by an individual suspected to have
direct involvement with Location A. Law enforcement detained several individuals inside
Location A who were there participating in illegal gambling activities by their own
admissions. There were several electronic games observed inside Location A. Law
enforcement agents observed a handgun that had been tossed inside the toilet by an unknown
individual and a large amount of cash estimated to be in excess of ten thousand dollars that
was located throughout the establishment in plain view. Law enforcement did not conduct a
complete account of the cash observed to be on hand inside Location A however through
Affiant’s and other law enforcement personnel’s experience in dealing with investigations
involving large sums of cash the estimate provided was on the conservative spectrum.

14. The individuals who were there and admitted being there to gamble also
admitted to being drug users. The individual who ran from law enforcement and was
arrested stated that there were individuals inside Location A selling illegal narcotics aside
from gambling.

15. On November 28, 2018, a CHS at the direction of law enforcement was

provided with monetary funds by law enforcement and was sent to Location A to attempt a

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drug purchase from an individual identified by a separate CHS who is selling
methamphetamine and heroin inside the game room.

16. The CHS entered Location A after being challenged by the individuals
contacted by law enforcement on the previous interaction with Location A as described
above. The CHS was eventually allowed access inside Location A and was told by the
individuals in charge of Location A that the first twenty was on the house and everything
after that would be at the expense of the CHS. The CHS reported that one of the individuals
in control of the location put a twenty-dollar bill into the machine for the CHS to begin
playing. The CHS reported playing electronic gaming machines that only accepted cash in
twenty-dollar increments and the CHS spent approximately eighty dollars. The CHS also
stated there were other individuals inside the location playing the electronic games at the time
the CHS was inside Location A.

17. The CHS did not win anything but had the understanding the CHS was playing
to win a cash payout. The CHS was unable to locate the individual reported by the separate
CHS who was selling drugs inside Location A. Before departing Location A, the CHS was
invited back by one of the individuals believed to be in charge of Location A. During a
physical surveillance by law enforcement while the CHS was inside Location A, law
enforcement observed activity outside Location A that appeared to be hand to hand drug

transactions with as of yet unidentified individuals. Some of the individuals believed to be

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drug customers were observed entering Location A after the suspected hand-to-hand drug
transactions took place.

18. Based upon all of the foregoing examples, as well as other aspects of the
investigation, I believe that it is clear that Location A is being used by individuals not yet
fully identified by law enforcement as an illegal gambling business and are engaged in
gambling activities involving cash in excess of two thousand dollars per day. Agents base
this belief on their personal observations and the fact this location is believed to be in
operation twenty-four hours a day with numerous individuals frequenting Location A for the
purpose of gambling for a monetary payout. Affiant further believes implements of illegal
gambling and the proceeds of illegal gambling are being stored and or maintained at
Locations A.

19. Further, I believe that the items listed in Attachment “B” will be located at
Location A more fully described in Attachment A.

(The remainder of this page is intentionally left blank.)

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CONCLUSION
20. This investigation has shown that as of yet individuals who have yet to be
completely identified are facilitating illegal gambling and maintaining implements and

proceeds of illegal gambling inside Location A, and Location A is a repository for said items.

LE—~.

Michael S. Reuler
Task Force Officer, FBI
Dallas, Texas

 

Subscribed and sworn to before me this w) day of November, 2018

 

HON. REBECCARUTHERFORD
United States istkate Judge
Northern District of Texas

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